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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                      CASE NO. 9:18-CV-81004-ROSENBERG/REINHART

MELANIE DAVIS,

       Plaintiff,
v.

POST UNIVERSITY, INC.,

       Defendant.

___________________________________/

         SCHEDULING ORDER AND ORDER REFERRING CASE TO MEDIATION

       Pursuant to the Court’s Order Setting Trial and Order of Requirements at docket entry 9, due to

the parties failure to file a Joint Scheduling Report the Court hereby ORDERS that discovery shall

begin immediately. The Court also orders the following:

                                  I.      PRETRIAL DEADLINES

       The pretrial deadlines in this case, which shall not be modified absent compelling

circumstances, are as follows:

       October 5, 2018: Rule 26(a)(1)(A) Initial Disclosures (if not provided earlier).

       October 5, 2018: Deadline to designate a mediator and to schedule a time, date, and place for

       mediation. The Court must be notified of the date of mediation.

       November 21, 2018: Deadline for joinder of additional parties, amended pleadings, and

       motions for class certification.

       March 4, 2019: The parties shall provide opposing counsel with a written list with the names

       and addresses of all primary/initial expert witnesses intended to be called at trial and only those

       primary/initial expert witnesses listed shall be permitted to testify. The parties shall also furnish

       opposing counsel with expert reports or summaries of its expert witnesses’ anticipated
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        testimony in accordance with Fed. R. Civ. P. 26(a)(2).1 Within the 30 day period following this

        disclosure, the parties shall make their experts available for deposition. The experts’ deposition

        may be conducted without further Court order.

        April 3, 2019: The parties shall provide opposing counsel with a written list with the names

        and addresses of all rebuttal/responsive expert witnesses intended to be called at trial and only

        those rebuttal/responsive expert witnesses listed shall be permitted to testify. The parties shall

        also furnish opposing counsel with expert reports or summaries of its expert witnesses’

        anticipated testimony in accordance with Fed. R. Civ. P. 26(a)(2). Within the 30 day period

        following this disclosure, the parties shall make their experts available for deposition. The

        experts’ deposition may be conducted without further Court order.

        Note: The above provisions pertaining to expert witnesses do not apply to treating physicians,

        psychologists or other health providers.

        May 3, 2019: All discovery shall be completed.

        June 3, 2019: All Pretrial Motions, including summary judgment motions, Daubert motions,

        and motions in limine shall be filed. See Order Setting Trial and Order of Requirements,

        sections 11-12.

        July 3, 2019: Mediation must be completed.

        August 5, 2019: Joint Pretrial Stipulation shall be filed. Designations of deposition testimony

        shall be filed. Parties shall also exchange Rule 26(a)(3) witness and exhibit lists.

        March 22, 2019: Counter-designations of deposition testimony and objections to designations

        of deposition testimony shall be filed. Late designations shall not be admissible absent exigent

        circumstances.


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 Nothing in this Order shall modify the requirements of the Federal Rules with respect to when an expert summary report
may be produced in lieu of a full, written expert report; a party may produce a summary expert report only when the
Federal Rules so permit.
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          March 29, 2019: Objections to counter-designations of deposition testimony and responses to

          objections to designations of deposition testimony shall be filed.

          April 8, 2019: Jury Instructions or Proposed Findings of Fact and Conclusions of Law shall be

          filed.

                                                        II.     MEDIATION

          Pursuant to Local Rule 16.2, this case is referred to mediation as follows:

                     a.         Mediation shall be completed by the above stated deadline for completing
                                mediation;

                     b.         The parties shall—within the above stated deadline to designate a
                                mediator and to schedule a time, date, and place for mediation— agree
                                upon a mediator and file a Notice with the Court naming the chosen
                                mediator and stating the date, time, and location for which mediation has
                                been scheduled. If the parties are unable to agree upon mediator, they
                                shall ask the Clerk of Court to designate a mediator from the list of
                                certified mediators on a blind random basis;

                     c.         Counsel for Plaintiff shall be responsible for coordinating a mediation
                                date, time, and location agreeable to the mediator and all counsel of
                                record;

                     d.         Within one (1) day of the mediation conference, the mediator shall file a
                                Mediation Report indicating who attended the mediation and the result
                                thereof; and

                     e.         The parties shall refer to the Court’s Order Setting Status Conference,
                                Calendar Call, and Trial Date for instructions on how to proceed after
                                settlement.

          DONE AND ORDERED in Chambers in West Palm Beach, Florida this 21st day of

September, 2018.

                                                              _______________________________________
                                                              ROBIN L. ROSENBERG
Copies furnished to: All counsel of record via CM/ECF         UNITED STATES DISTRICT JUDGE




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